     Case: 4:21-cv-01405-JAR Doc. #: 4 Filed: 12/20/21 Page: 1 of 3 PageID #: 18




December 17, 2021




EQH Service Company, LLC
Michael Mullenix % Jaime Hagedorn
3290 Rider Trail South
Earth City, Missouri 63045

RE: NOTICE OF LAWSUIT

Michael Mullenix

Be advised that a lawsutt has been filed with the Untted States District Court, Eastern District of
Missouri on November 30, 2021 for which relief is sought.

Enclosed is a true copy of a Notice Regarding Magistrate Judge Jurisdiction consent form and a
copy of lni Watson's signed consent form.

Respectfully,




lni 'lv-'a"..son




Enclosures



                   //z r.f li.S            ALEXIS MARIE MITCHELL
                                           Nola~ Public • ~ Seal
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                                       Comm1~s1ofledtor St Louis Count
                                   : MyComm,ssJ~n Expires: Janua,y 24, 262s
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                                 CERTIFICATE OF SERVICE

This is to certify that a Notice of a lawsuit and a true copy of the foregoing Notice Regarding
Magistrate Judge Jurisdiction consent form were fo,warded to EQH Service Company, LLC et al
at: 3290 Rider Trail South, Earth City, Missouri 63045 by certified mail on this  _.J1   day of
December, 2021.

Respectfully Submitted,




lniwatson




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                                      ; My Commission Expires: January 24. 2025
                                           commission Number: 21144209
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